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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-00631-RM-MEH

   GEORGINA SANTICH, et al.,

           Plaintiffs,

   v.

   VCG HOLDING CORP, et al.,

           Defendants.


        DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY OR DISMISS
                                 PROCEEDINGS


           In a desperate effort to avoid the application of the numerous arbitration provisions they

   agreed to time and again, Plaintiffs make the unbelievable claims that they were rushed through

   the process, were intoxicated, or wearing clothing that made them feel intimidated. Yet, only 12

   of the 35 named Plaintiffs have submitted any evidence whatsoever to support such claims, and

   therefore 23 of them should be immediately compelled to arbitration. The remaining Plaintiffs

   should also be compelled to arbitration. As an initial matter, Plaintiffs’ unconscionability

   challenges relate to the formation of their lease agreements as a whole, not simply the arbitration

   provisions. This means that an arbitrator, not the Court, must determine whether their claims are

   arbitrable under binding Supreme Court precedent.          In any event, Plaintiffs’ self-serving

   declarations do not show that they were forced to sign the agreements with arbitration clauses,

   forced to elect to perform as an independent contractor rather than an employee, or were so

   intoxicated that they did not know the difference. In reality, Plaintiffs are simply attempting to
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   avoid a provision of their agreement that they now dislike. Such approach has been routinely

   rejected by Courts in nearly identical circumstances.

           Contrary to Plaintiffs’ assertions in their introduction, whether or not the entertainers were

   properly classified hinges on how the relationship worked in practice. Courts have not universally

   determined that entertainers must be paid a minimum wage as opposed to enjoying their status as

   independent contractors. In reality, entertainers seek to perform as independent contractors so that

   they maintain their own schedule, can perform at competing clubs, keep their tips, and make more

   money. Provided they are treated as independent contractors and not employees, nothing in the

   FLSA prohibits such relationship. In fact, in a case factually similar case, the District Court in

   Arizona concluded that entertainers were in fact, independent contractors under the FLSA, not

   employees. See Tijerino v. Stetson Desert Project LLC et al., No. 2:15-cv-02563, ECF # 52 (D.

   Arizona, June 21, 2017)1. Exhibit A.

   I.      CHALLENGES TO AGREEMENTS ARE DECIDED BY THE ARBITRATOR

           As an initial matter, Granite Rock Co. v. Int’l Bhd. Of Teamsters, 561 U.S. 287 (2010),

   specifically states that a court may order arbitration of a particular dispute where the parties agreed

   to arbitrate that dispute. Id., at 297. Here, the parties agreed that the arbitrator would determine

   all issues of arbitrability: “The Arbitrator shall have exclusive authority to resolve any disputes

   over the formation, validity, interpretation and/or enforceability of any part of this lease, including

   these arbitration provisions.” See [Dkts. 20-1–61, ¶ 21]. This is clear and unmistakable evidence



   1
    See also, Oregon v. Acropolis McLoughlin, Inc., 945 P.2d 647 (Or. App. 1997), Marlar, Inc. v. United States, 151
   F.3d 962 (9th Cir. 1998); Matson v. 7455, Inc., 2000 WL 1132110 (D. Or. Jan. 14, 2000); Carla McKinney v. Chief
   Legal Counsel of the Department of Human Rights, 811 N.E.2d 803 (Ill. App. 5th Dist. 2002); Hilborn v. Prime Time
   Club, Inc., 2012 WL 9187581 (E.D. Ark. July 12, 2012); Sizemore v. Jezebel’s, Inc., 152 P.3d 689; 2007 WL 656444
   (Kan. App. March 2, 2007).

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   that the parties intended to delegate questions of arbitrability to the arbitrator. Contec Corp. v.

   Remote Solution Co., 398 F.3d 205, 208 (2nd Cir. 2005) (when parties explicitly incorporate

   language that empowers an arbitrator to decide issues of arbitrability, the incorporation constitutes

   evidence of the parties’ intent to delegate such issues to an arbitrator). A motion to stay

   proceedings pending the outcome of an arbitration decision is applicable where an issue arises in

   the course of litigation that is subject to the exclusive jurisdiction of the arbitrator. Lamb v. GE

   Consumer & Indus., 2006 U.S. Dist. LEXIS 54082, at *6 n.3 (N.D. Ind. Aug. 2, 2006).

          Moreover, Plaintiff’s reliance on Rent –A- Center, W., v. Jackson, 561 U.S. 63 (2010) is

   unavailing. There, the Supreme Court noted that there are two types of validity challenges under

   Section 2 of the Federal Arbitration Act (FAA). The first is a challenge only to the validity of the

   arbitration agreement. Id., at 63. The second is a challenge to the entire contract as a whole. Id.

   (citations omitted). Challenges to a contract as a whole that contain arbitration agreements are for

   the arbitrator to decide. Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 404 (1967)

   (federal courts are not permitted to consider claims of fraud in the inducement of a contract

   generally, where the parties agreed to an arbitration clause) (emphasis added). “Attacks on the

   validity of an entire contract, as distinct from attacks aimed at the arbitration clause, are within the

   arbitrator’s ken” Preston v. Ferrer, 552 U.S. 346, 353 (2008); see also, Meyer v. Dans un Jardin,

   S.A., 816 F.2d 533, 538 (10th Cir. 1987); Alwert v. Cox Communs., Inc. (In re Cox Enters., Inc.

   Set-Top Cable TV Box Antitrust Litig.), 835 F.3d 1195, 1210 (10th Cir. 2016).

          Here, Plaintiffs’ unconscionability arguments challenge the entire lease agreement, not just

   the arbitration provision. Plaintiffs’ challenges are nearly identical to those in McGrew v. VCG

   Holding Corp. 2017 U.S. Dist. LEXIS 43963. See Ex. B. There, the court held that plaintiffs


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   challenged the unconscionability of the entire lease agreements and not just the arbitration clause

   where the Plaintiffs alleged they were encouraged to drink on their shifts and were drunk when

   they signed the agreements, were not given enough time to review the agreements, and the

   agreements were contracts of adhesion. Id. at *21. The court held there that the issues of

   unconscionability were for the arbitrator to decide. Similarly here, Plaintiffs specifically challenge

   Defendants’ alleged “strategy” of misclassifying the Plaintiffs, specifically challenging provisions

   “peppered” throughout the leases. [Dkt. 105 at p. 2]. Plaintiffs do not contend that they were

   encouraged to drink only when they were reviewing the arbitration clause, or that they had to be

   in their dance clothes and not their street clothes only when they were reviewing the arbitration

   clause. They do not allege, for example, that they had time to read through the majority of the lease

   agreement, but were rushed only through the arbitration clause. Rather, just as in McGrew,

   Plaintiffs allege that their lease agreements are unconscionable in their entirety because of the

   circumstances surrounding their execution: that is for the arbitrator to decide. See McGrew, 2017

   U.S. Dist. LEXIS 43963 at *23. Plaintiff’s reliance on Spahr v. Secco is inapposite. Unlike in

   Spahr, Plaintiffs do not claim that they were all so mentally incapacitated that they would be unable

   to assent to the entire agreement.2




            2
              Plaintiffs have not presented any evidence that they are not mentally capable of contracting. Abbott,
   Axelson, Berry, Cline, Raffaele, and Rail are high school graduates and Shafer has her GED. Santich, Chavez,
   Wozneak, and Bonham are silent as to their level of education. Only Livingston avers that she did not graduate from
   high school. Yet even a cursory review of the declarants’ respective declarations reveals none appear to have any
   trouble with complicated English language. In any event, Plaintiffs argument amounts to a claim that they simply lack
   mental capacity to contract. There is no evidence to support this overly paternalistic claim.

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   II.     MOST (23) NAMED PLAINTIFFS HAVE NOT CHALLENGED THE MAKING
           OR VALIDITY OF THE AGREEMENTS OR SIGNED NEW CONTRACTS AND
           SHOULD BE IMMEDIATELY COMPELLED

           Regardless of whether this Court or the arbitrator decides the issue of unconscionability

   (which only the arbitrator should), numerous Plaintiffs have not satisfied their burden of

   establishing that the lease agreements are unconscionable because they have not presented any

   evidence whatsoever with respect to the execution of their agreements. Cook v. PenSa, Inc., 2014

   U.S. Dist. LEXIS 106730, *22-23, 2014 WL 3809409 (D. Colo. Aug. 1, 2014) (The burden is on

   the Plaintiff to show that the contract is both procedurally and substantively unconscionable).

           Only 12 Plaintiffs signed declarations to support the allegations which challenge the

   formation or making of the lease agreements. Remarkably, since then, and after counsel for

   Defendants in this very case sent copies of the new leases to Plaintiffs’ counsel, three of the named

   Plaintiffs re-signed contracts containing a mandatory arbitration clause and class and collective

   action waivers.3 As a result, the 23 Plaintiffs who did not provide any evidence with respect to

   their agreements, and the three who re-signed them after their declarations, should be immediately

   compelled to arbitration.

   III.    THE ARBITRATION CLAUSE IN THE LEASE IS NOT UNCONSCIONABLE

           Courts handling contract disputes that apply Colorado law and start with the presumption

   that a contract clause is enforceable. Bonanno v. Quizno’s, 2009 U.S. Dist. LEXIS 37702 (D. Colo.

   2009). Plaintiffs cited Davis v. M.L.G. Corp., 712 P.2d 985 (Colo. 1986) to establish that the there


            3
              These are Adrianna Axelson (Decl. signed 4/2/17, Dkt. 106-3, new entertainer agreement signed May 27,
   2017); Ariel Cline (Decl. signed 4/28/17, Dkt. 106-6; new entertainer agreement signed June 19, 2017); and Amanda
   Livingston (Decl. signed 5/5/17, ECF # 106-8; new entertainer agreement signed June 3, 2017). See Ex. B. Ex. C are
   DVD’s containing recording the contracting process of these three entertainers. Ex. C are filed in the traditional
   manner. A copy of the Colorado lease was forwarded to Plaintiff’s counsel so she could advise her clients about them
   on May 19, 2017. See Ex. E.

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   is evidence of some overreaching on the part of one of the parties as to make the agreement

   unconscionable. While Plaintiffs cited the factors from Davis regarding procedural

   unconscionability, they rely on cases outside the Tenth Circuit for the substantive

   unconscionability portion of their analysis. This is because Plaintiffs cannot show substantive

   unconscionability under the Colorado standard set forth in Davis, or the unconscionability analysis

   of Indiana or Maine law which applies to four of the agreements.4

            In Colorado, the factors used to determine whether a contract is procedurally and

   substantively unconscionable include: 1) a standardized agreement executed by parties of unequal

   bargaining power; 2) lack of opportunity to read or become familiar with the document before

   signing it; 3) use of fine print in the portion of the contract containing the challenged provision; 4)

   absence of evidence that the provision was commercially reasonable or should have reasonably

   been anticipated; 5) the terms of the contract, including substantive unfairness; 6) the relationship


            4
               Plaintiffs have submitted declarations for four Plaintiffs, Abbott, Rail, Shafer, and Wozneak who executed
   contracts and performed outside of Colorado. Abbott and Rail’s contracts are subject to Indiana law. (See Dkt. 106-2
   ¶ 20, Dkt. 106-9 ¶ 20;) Shafer and Wozneak are subject to Maine law. (Dkt. 106-10 ¶ 20, Dkt. 106-11, ¶ 20)
             Under Indiana law, a contract is unconscionable if it is one that “no sensible man not under delusion, duress
   or in distress would make, and [one that] no honest and fair man would accept.” Feltner v. Bluegreen Corp., 2002
   U.S. Dist. LEXIS 20449, *15, 2002 WL 31399106 (S.D. Ind. Oct. 8, 2002), citing, Weaver v. Am. Oil Co., 257 Ind.
   458, 276 N.E.2d 144, 146 (Ind. 1971). Further, recognition that an arbitration agreement in the employment context
   is an adhesion contract does not render it unconscionable. Weaver establishes that there must be a "gross" inequality
   between bargaining parties for a contract to be unconscionable. Feltner, supra, citing Weaver, 276 N.E.2d at 146. As
   the district court noted in Abbott v. Lexford Apartment Servs., Inc., 2002 U.S. Dist. LEXIS 14746, 2002 WL 1800320
   (S.D. Ind. Aug. 2, 2002).
             Maine also recognizes “a broad presumption in favor of arbitration.” Brackett v. Gen. Dynamics Armament
   & Tech. Prods., 2010 U.S. Dist. LEXIS 64016, *4, 2010 WL 2628525 (D. Me. June 25, 2010), citing Barrett v.
   McDonald Investments, Inc., 2005 ME 43, 870 A.2d 146, 149 (Me. 2005), including arbitration in the employment
   context. Id. Under Maine law, [u]nconscionability is considered through two lenses: procedural and substantive.
   Blanchard v. Blanchard, 2016 ME 140, P19, 2016 Me. LEXIS 155, *11 (Me. Sept. 6, 2016), (citations omitted)
   (Alexander, J., concurring). Procedural unconscionability is analyzed based on the circumstances that existed at the
   time the contract was adopted, Id, (citations omitted), and generally refers to the exploitation of unequal bargaining
   power between the parties, see Am. Airlines v. Wolens, 513 U.S. 219, 249, 115 S. Ct. 817, 130 L. Ed. 2d 715 (1995)
   “Substantive unconscionability or unfairness focuses on the terms of the agreement and whether those terms are so
   one-sided as to shock the conscience.” Barrett, 2005 ME 43, ¶ 36, 870 A.2d 146 (Alexander, J., concurring) (quotation
   marks omitted). Id,(citations omitted). Like the Plaintiffs in Brackett, Shafer and Wozneak fall well short of this
   standard.

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   of the parties, including factors of assent, unfair surprise, and notice; and 7) all of the circumstances

   surrounding the formation of the contract, including its commercial setting, purpose, and effect.

   Davis, 712 P.2d at 991. Factors one, two, three, six, and seven, are used to determine procedural

   unconscionability. Vernon v. Qwest Communs. Int’l, Inc., 857 F. Supp. 2d 1135, 1158 (D. Colo.

   2012). Factors four and five are used to assess substantive unfairness. Id. at 1157. In order to

   prove that a contract or provision of a contract is unconscionable, it has to be both procedurally

   and substantively unconscionable. The same holds true under Indiana and Maine law. See

   Blanchard v. Blanchard, 2016 ME 140, P19, 148 A.3d 277, 282-283, 2016 Me. LEXIS 155, *11

   (Me. Sept. 6, 2016); Weaver v. Am. Oil Co., 257 Ind. 458, 276 N.E.2d 144, 146 (Ind. 1971).

            B.       The Agreements are Not Unconscionable

            Any testimony from the declarants regarding the first factor, that the agreement was

   standardized and the parties were of unequal bargaining power, is unavailing. Plaintiff Santich

   states that she was “not given any choice” but to sign the independent contractor agreement. [Dkt.

   106-1, ¶ 4]. However, she does not allege that Defendants forced her to sign the agreement. This

   Court has held that little weight should be given to the first factor when Plaintiffs argue that “the

   adhesive nature of a contract (i.e. standardized forms, lack of ability to negotiate, power

   disadvantage, etc.) should render the arbitration provision of the contract unconscionable.” Bernal

   v. Burnett, 793 F. Supp. 2d 1280, 1287 (D. Colo. 2011) (adhesion contracts are not inherently

   unconscionable regardless of lack of ability to negotiate or power disadvantages).5 Pursuant to


             5
               Plaintiffs continued to assent to the entertainer agreements by continuing to perform under it. A party may
   demonstrate assent to the terms of an offer either by promising to perform or by actually performing. Vernon, 857 F.
   Supp. 2d at 1149 (citations omitted). An objective manifestation of assent is not rebutted by that same party's
   uncommunicated, subjective intent. Id. Here, Plaintiffs continued to perform under the agreements, and most executed
   multiple agreements with Defendants. Thus, their performance thereunder amounts to assent, even if they were
   initially unconscionable.

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   Bernal, the allegations related to power disadvantages and the inability to negotiate should be

   given little weight in the unconscionability analysis.

          Next, Plaintiffs claim that they did not have sufficient time to read or become familiar with

   the lease agreement. Santich states “a manager watched me impatiently to make me hurry up and

   sign.” [Dkt. 106, Ex. 1, ¶¶ 4]. Other Plaintiffs said they were rushed because the managers

   appeared impatient. [Dkt. 106 - 2, ¶ 4; Dkt. 106-3, ¶¶ 11, 13; Dkt. 106-4, ¶¶ 6, 11, 13; Dkt. 106-5,

   ¶¶ 5, 11; Dkt. 106-7, ¶ 11; Dkt. 106-8, ¶ 4; Dkt. 106-9, ¶ 10; and Dkt. 106-10, ¶ 6]. Yet, none of

   the Plaintiffs described how much time the spent reviewing the contract, whether they asked for

   and were denied additional time to review the contract, or any additional information about the

   contract that they requested. Some admit they asked questions and had those questions answered.

   [Dkt. 106-.2, ¶ 4; Dkt. 106-4, ¶ 12; Dkt. 106-7, ¶ 11; Dkt. 106-9, ¶ 4; Dkt. 106-10, ¶ 6; and Dkt.

   106-11, ¶ 5]. Even if Plaintiffs did not read the agreements, none of the declarants allege that there

   was any fraud or concealment, in the contract or on the part of the managers presenting it to them.

   [Dkt. 106-1-12]. “[A]bsent fraud or concealment, a person who signs a document is presumed to

   have knowledge of the document's contents, independent of whether that person has read the

   document." Breaux v. American Family Mut. Ins. Co., 387 F. Supp. 2d 1154, 1162 (D. Colo. 2005)

   ("Plaintiff alleges no fraud or concealment and signed the waiver") (citation omitted).

   Additionally, Colorado law holds that a party cannot avoid contractual obligations by claiming

   that he or she did not read the terms of the agreement and it is presumed that one who signs the

   contract, understands it. Vernon, 857 F. Supp. 2d at 1151.

          None of the declarants alleged the third factor – that the challenged provision was in fine

   print. It was not. While Santich claims she did not understand that she was “signing away,” her


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   legal rights, and that no one explained the arbitration clause to her, [Dkt. 106], Ex. 1, ¶6, she does

   not allege that she asked anyone about the arbitration provision, or that if she had understood the

   provision, that she would not have signed the agreement. In fact, none of them state that had they

   understood the arbitration provision they would not have signed it. [Dkt. 106-1, ¶ 6; Dkt. 106-2, ¶

   7; Dkt. 106-3 ¶¶ 8, 11; Dkt. 106-4 ¶¶ 8, 11; Dkt. 106-5, ¶ 7; Dkt. 106-6 ¶ 8; Dkt. 106-7, ¶ 7; Dkt.

   106-8 ¶¶ 7, 8, 10; Dkt. 106-9, ¶ 7; Dkt. 106-12 ¶ 6]. See Holden v. Raleigh Rest. Concepts, Inc.,

   2014 U.S. Dist. LEXIS 163676 (E.D.N.C. 2014) (finding arbitration provision not unconscionable

   where the “arbitrator provision is prominently displayed in bold and capitalized font). Ex. F.

          Plaintiffs also do not allege the fourth factor, that the provision was commercially

   unreasonable or that it was not reasonably anticipated. Santich signed at least 9 agreements over

   the course of several years. Additionally, all of Santich’s lease agreements (and all other

   declarants’ agreements) were substantially similar, each containing an arbitration provision with a

   class action wavier. Ex. G. Moreover, under Colorado law, a clause precluding the pursuit of relief

   on a class-wide basis or limiting their claims to arbitration is not unconscionable or commercially

   unreasonable. Vernon, 857 F. Supp. 2d at 58 (the inclusion of a class-action waiver in an arbitration

   provision does not make the provision unconscionable); see also Kindred Nursing Ctrs. Ltd. P'ship

   v. Ex. W, ___ U.S. ___, 137 S. Ct. 1421, 1426, 197 L. Ed. 2d 806, 812, (2017) (“The FAA thus

   preempts any state rule discriminating on its face against arbitration—for example, a “law

   prohibit[ing] outright the arbitration of a particular type of claim.”)

          Other than the issue regarding arbitration fees, which is addressed below, nothing in

   Plaintiffs’ affidavits or declarations allege the fifth factor, that the lease agreements or the

   arbitration clauses contained therein were substantively unfair. Further, the Tenth Circuit has held


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   that these types of arbitration provisions contained therein are valid and enforceable. Adams v.

   Merrill Lynch, 888 F.2d 696, 700 (10th Cir. 1989) ("There is certainly nothing inherently unfair

   about the arbitration clauses, and they are therefore valid and enforceable.")

          The sixth factor looks at the relationship between the parties, including factors of assent,

   unfair surprise, and notice. None of the declarants alleged that they were surprised to have to sign

   the lease agreements before performing at the clubs or were surprised by the content of the

   agreements. Further, Plaintiffs do not allege that anyone made false or misleading statements about

   the contract. [Dkt. 106] Ex. 1-12. Nearly all declarants stated that they signed the agreements

   because they wanted to perform at the club. Id.

          The remainder of the declarants’ allegations regarding the lease agreements and the

   arbitration agreements can be argued only under the seventh factor, which looks at all of the

   circumstances surrounding the formation of the contract. Plaintiffs attempt to combine the different

   circumstances alleged in each declaration to paint a generalized picture of procedural

   unconscionability, when in reality the individual allegations do not suffice to hold the lease

   agreements or arbitration clauses unenforceable. For example, Plaintiffs allege that they “often had

   at least a few drinks before signing the contract…” [Dkt. 105], p. 9, but none of the Plaintiffs allege

   that they were visibly intoxicated when they signed their agreements or that they were so

   intoxicated they could not understand the agreement.

          Plaintiffs also allege, in a general manner, that they were not allowed to take the lease

   agreements home before signing…” [Dkt. 105], p. 10. However, none state how asking for a copy

   of the agreement or failing to receive it would affected the enforceability of the agreement or




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   changed their decision whether to execute additional agreements. [Dkt. 106-1, ¶12, Dkt. 106-4 ¶

   17; Dkt. 106-5 ¶ 34, Dkt. 106-9 ¶ 13]. Many entertainers did receive copies of their contracts.

          Plaintiffs also argue different reasons that contributed to their inability to read or

   understand the contract, including learning disabilities, English being a second language, and being

   easily distracted by the lights and music in the club. None alleged that all of these factors limited

   their understanding of the agreement. Only one Plaintiff alleged that she suffered from ADD and

   ADHD. [Dkt. 106-10, ¶ 7]. However, she does not allege that English was her second language or

   that the lights and music distracted her. Only Santich alleges that she had a hard time understanding

   the contract because English was her second language. [Dkt. 106-1, ¶ 3]. She does not allege that

   she has any type of learning disability or that she could not read the agreement. [Dkt. 106-1].

   Further, only one declarant alleged that she was too distracted by the lights and music in the club

   to fully understand the contract. [Dkt. 106-4, ¶ 5]. She does not allege that she has a learning

   disability or that English was her second language. Other than wanting to perform, none explain

   why they signed the agreements in where they claim they lacked an understanding of them.

          To the extent Plaintiffs allege that they were forced to wear lingerie (their dance uniforms),

   Plaintiffs provided no authority demonstrating that the parties’ attire contributes to the

   unconscionability of the agreement. Moreover, none of the Plaintiffs allege that they asked to

   change and were denied that opportunity. [Dkt. 106-1-12]. Nor do Plaintiffs allege that they

   expected to be able to put their street clothes back on after they auditioned even though they

   planned to work after signing their agreements. Id. In any event, the declarants were contracting

   to perform as exotic dancers performing nude or semi-nude. Again, other than wanting to perform

   at the club, none explain why they signed the agreements if they were uncomfortable doing so.


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            Taken individually, not one of the named declarants allege facts to sufficiently establish

   the lease agreement unconscionable. Plaintiffs’ attempt to combine the experiences of twelve

   different entertainers into one general image of unconscionability is misleading and should be

   disregarded. Because Plaintiffs have failed to show that the arbitration clauses were both

   procedurally and substantively unconscionable for each declarant, they have failed to show

   unconscionability and should be compelled to arbitrate their claims. Vernon, 857 F. Supp., at 1157.

            C.       The Fee Provisions in the Arbitration Clauses Are Not Unconscionable.

            Plaintiffs’ argument that the arbitration clause is substantively unconscionable due to the

   cost burden placed on litigants fails as well. First, cost splitting and shifting provisions within

   arbitration agreements may render a case not worth pursuing, but it does not eliminate one’s right

   to pursue the claim. Am. Express Co. v. Italian Colors Rest., 133 S. Ct. 2304, 2310-2312 (2013)

   (emphasizing that the law does not guarantee an affordable procedural path the vindication of

   every claim). In order to show that the arbitration costs would be so prohibitive to render the

   arbitration agreement unconscionable, plaintiffs must show that they were prohibited – on the basis

   of costs and means – from arbitration. Nesbitt v. FCNH, Inc., 811 F. 3d 371, 379-80 (10th Cir.

   2016) (plaintiff demonstrated that arbitration would be prohibitively expensive by providing the

   court with an estimate of the costs she would incur). Here, Plaintiffs have not provided an estimate

   of the costs they believe they would incur if they pursued their claims individually in arbitration,

   nor have many explained their total annual income and expense and why they could not pursue

   arbitration.6 Therefore the court does not have any way of assessing whether the costs would be


   6
     Without sufficient evidence to support their assertion that the arbitration costs prevent them from vindicating their
   statutory rights, plaintiffs fail their burden. Torgerson v. LCC Int'l, Inc., 2017 U.S. Dist. LEXIS 955, *19-20, 2017
   WL 25387 (D. Kan. Jan. 3, 2017), (plaintiff failed to meet his burden of proof because he "offered absolutely no
   evidence to support his claim that the costs of arbitration will deny him an effective forum to vindicate his statutory

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   prohibitive. Moreover, many entertainers have stated that cost is not a prohibitive factor for them

   when deciding whether or not to file suit against Defendants, they just don’t have any issues with

   the business relationship. See Ex. H, ¶ 25; see also, Ex. I, ¶ 21; Ex. J, ¶ 24; Ex. K, ¶ 22; Ex. L, ¶

   23; Ex. M, ¶ 23; Ex. N, ¶ 23; Ex. O, ¶ 23; Ex. P, ¶ 23; Ex. Q, ¶ 22; Ex. R, ¶ 22; Ex. S, ¶ 22; Ex. T,

   ¶ 25; Ex. U, ¶ 23; Ex. V, ¶ 24; Ex. W, ¶18.

            Additionally, contrary to the arbitration clause in Nebsitt, the arbitration clause here

   contains a “savings clause” and is therefore severable. Daugherty v. Encana Oil & Gas (USA),

   Inc., 2011 U.S. Dist. LEXIS 76802, at *34-35 (D. Colo. July 15, 2011) (fee splitting provision of

   arbitration clause is severable where arbitration clause contains savings clause). The fee provision

   of the arbitration clause provides that “[t]he costs of arbitration shall be borne equally by the

   entertainer and the club unless applicable law requires the arbitrator to impose a different

   allocation.”7 The lease also permits the arbitrator to award any relief available in court. See Ex. G,

   ¶ 21 (emphasis added). These provisions allow an arbitrator to adjust the fee shifting provisions in

   the arbitration agreement pursuant to the FLSA, FAA, or any other applicable law. Here, the fee



   rights") (citations omitted). E.g., Zambrano v. Strategic Delivery Sols., LLC, 2016 U.S. Dist. LEXIS 130533, 2016
   WL 5339552, at *8-9 (S.D.N.Y. Sept. 22, 2016) (holding that plaintiffs had not satisfied their burden to show that the
   arbitration agreement was unenforceable because plaintiff's claims of prohibitive costs were too speculative); Leonard
   v. Del. N. Cos. Sport Serv., Inc., 2016 U.S. Dist. LEXIS 89295, 2016 WL 3667979, at *4 (E.D. Mo. July 11, 2016)
   (holding that plaintiff failed to carry his burden to show that arbitration was cost prohibitive because "he has provided
   no evidence of the specific costs or arbitration fees or his financial inability to afford [ ] them"); Monteverde v. W.
   Palm Beach Food & Beverage, LLC, No. 9:15-CV-81203, 2016 U.S. Dist. LEXIS 38649, 2016 WL 1161224, at *6
   (S.D. Fla. Mar. 23, 2016) (distinguishing Nesbitt because it was “decided in the context of evidence that the individual
   plaintiff was prohibited—on the basis of costs and the plaintiff's means—from arbitration: but plaintiffs “failed to
   provide any notable or credible evidence of the same in this case”)
             7
               The crux of Plaintiffs’ argument is that they were classified as a non-employee, but because the defendant
   exercised too much control, in actuality they were statutory employees under the FLSA entitled to the payment of
   minimum wage and overtime. Of course, the protections of the FLSA only apply to employees. A properly classified
   independent contractor or other non-employee is not subject to the FLSA or the cost shifting recovery contained in 29
   U.S.C. 216(b). In other words, until the arbitrator determines that the Plaintiffs were statutory employees entitled to
   the protection of the FLSA, the argument prohibiting the payment of costs and fees does not apply. Until such time,
   the argument is nothing more than red hearing.

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   provisions of the FLSA would apply instead of those set forth in the arbitration clause. For these

   reasons, the arbitration clause should not be rendered unconscionable, but the fee provision

   stricken from the agreement if the court determines the costs and fees section would prohibit

   Plaintiffs from asserting their legal rights.8 If the Court determines that the fee provision is

   unconscionable, the severability clause prevents the fee provision from rendering the entire

   arbitration clause unconscionable. Daugherty v. Encana Oil & Gas (USA), 2011 LEXIS 76802, at

   *34-35; see also McGrew, 2017 U.S. Dist. LEXIS 43963 at * 25 (finding that the cost-sharing and

   fee-shifting provisions were readily severable from the substantive provisions of the agreement).

   In any event, if this Court determines the fee provision would render the arbitration clause

   unconscionable, Defendants agree to pay the arbitration fees of any arbitration proceeding that the

   entertainers would not incur in Court.

           D.       Entertainers Knowingly Entered Into Agreements With Defendants.

           Entertainers from five Denver clubs along with an entertainers from Indianapolis and

   Portland, Maine provided declarations that directly contradict Plaintiffs’ declarations. With regard

   to the first factor of unconscionability, many entertainers have said that although they were

   routinely presented with a standard agreement, they always felt like they had the ability to negotiate

   the contract if they wanted to. Ex. J, ¶ 8; see also Ex. K, at ¶ 7; Ex. L, at ¶ 8; Ex. H, at ¶ 8; Ex. O,

   ¶ 7; Ex. L, ¶ 8; Ex. Z, ¶ 8; Ex. AA, ¶ 8; Ex. BB, ¶ 8; Ex. CC, ¶ 10; Ex. DD, ¶ 8; Ex. H, ¶ 8; Ex.

   EE, ¶ 8; Ex. P, ¶ 8; Ex. Q, ¶ 8; Ex. T, ¶ 9; Ex. V, ¶ 8. Further, many managers have also stated that

   they would allow potential entertainers to negotiate some of the contract terms. Ex. FF, ¶ 15; Ex.


           8
              Chavez signed her last entertainer lease on January 26, 2013. That lease provided for the Club, not the
   entertainer, to pay the fees and costs associated with arbitration of an employment related claim and expressly
   precludes fee shifting. See Exhibit. X, ¶ 21. Shafer’s last agreement contains identical terms. (Exhibit Y, ¶ 21).

                                                          14
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   GG, ¶ 15; Ex. HH ¶ 14; Ex. II, ¶ 13, Ex. JJ, ¶ 13; Ex. KK, ¶ 16; Ex. LL, ¶ 16; Ex. MM, ¶ 16; Ex.

   NN, ¶ 16; Ex. OO, ¶ 16; Taylor, ¶ 16; Ex. QQ, ¶ 16; Ex. RR, ¶ 15; Ex. SS, ¶ 15;Ex. TT, ¶ 16.

           With regard to the second factor, entertainers stated that they had plenty of time to read the

   agreements. “The managers really emphasized with me that if I wanted more time to review the

   agreement I could take it home, or I could have someone else review it” Ex. L, ¶¶ 10, 6; see also,

   Ex. H, ¶ 6; Ex. I, at ¶ 6; Ex. K, ¶¶ 5, 9; Ex. J, ¶ 5; Ex. UU, ¶6. Some took them home to review,

   while others reviewed and signed the same day that they received it. Ex. EE, ¶ 6; Ex. Q, ¶ 6; Ex.

   S, ¶ 6; Ex. V, ¶ 6.9

           As to the third factor, Plaintiffs do not allege that the arbitration provision was hidden or

   hard to find within the agreement. Several entertainers remembered reading the arbitration

   provisions when they reviewed the contract. “I remember reading the arbitration clause. It seemed

   self-explanatory. I did not ask any question[s] about it.” Ex. J, ¶ 18; see also, Ex. L, ¶ 17; Ex. K, ¶

   16; Ex. VV, ¶ 19; and Ex. O, ¶ 17. Defendants did not hide the arbitration clauses in any way or

   included them as the “fine print of the agreement.” In fact, the arbitration clause is always bolded

   text in the agreements. See Ex. G.

           As to the fourth factor, Defendants informed the entertainers of the difference between

   being an employee and an independent professional contractor: “The first time I was presented

   with an agreement… the manager went over both what it meant to be an employee and an

   independent contractor.” Ex. I, ¶ 5. Many managers stated this is a standard part of the process.

   Ex. WW, ¶ 5; Ex. XX, ¶ 5; Ex. HH, ¶ 5; Ex. YY, ¶ 5; Ex. ZZ, ¶ 5; Ex. II, ¶ 5; Ex. JJ, ¶ 5; Ex. KK,


           9
              No declarants state the amount of time they were provided to review the agreement. Rather, they aver to
   being left alone to review the contract (Dkt. 106-1, ¶ 4 and Dkt. 106-4, ¶ 5) Others had the contract explained to
   them (Dkt. 106-2, ¶ 4, Dkt. 106-7, ¶ 7, Dkt. 106-4, ¶ 15, Dkt. 106-9, ¶ 4, Dkt. 106-10, ¶ 6, Dkt. 106-11, ¶ 5)

                                                           15
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   ¶ 5; Ex. LL, ¶ 5; Ex. MM, ¶ 5; Ex. AAA, ¶ 5; Ex. NN, ¶ 5; Ex. OO, ¶ 5; Taylor, ¶ 5; Ex. QQ, ¶ 5;

   Ex. RR, ¶ 5; Ex. SS, ¶ 5; Ex. BBB, ¶ 10; Ex. QQ, ¶ 5.

            “The I[PE] agreement allowed me to keep more money that I earned and wear whatever I

   want.” Ex. K, ¶ 4. “I chose to perform as an independent contractor because I believed then as I

   continue to believe today, that it provides me with significant flexibility and is more lucrative…”

   Ex. GGG, ¶ 8; Ex. VV, ¶ 6; Ex. CCC, ¶ Ex. Z, ¶ 5; Ex. DDD, ¶ 6; Ex. AA, ¶ 5;Ex. EEE, ¶ 6; and

   Ex. CC, ¶ 7. One entertainer stated “I chose to be an independent contractor because it allows me

   to have a flexible schedule so that I can care for my ill mother.” Ex. FFF, ¶ 5.

            With regard to notice of the new contracts, the clubs typically post notice a month before

   the entertainers have to have their contracts signed, allowing the entertainers plenty of time to

   review and sign the new agreement. Ex. CC, ¶ 16; Ex. H, ¶ 14; Ex. N, ¶ 15; Ex. M, ¶ 14; and Ex.

   Q, ¶ 13. Thus, the agreements were commercially reasonable. 10

            As to the fifth factor, many of the entertainers did not have any issues with the contracts

   upon reviewing them. Ex. I, ¶ 8; see also, Ex. J, ¶ 9; Ex. GGG, ¶ 10; Ex. VV, ¶ 5; Ex. CCC, ¶ 5;

   Ex. FFF, ¶ 6; Ex. HHH, ¶10; Ex. N, ¶ 8; Ex. M, ¶8; Ex. I, ¶ 8; Ex. III, ¶ 8; Ex. JJJ, ¶ 8. They fully

   understood the agreement, and if they had questions they would ask. Ex. J, ¶ 9; Ex. H, ¶ 9; Ex. L,

   ¶ 9; Ex. K, ¶ 8; Ex. I, ¶ 9; Ex. KKK, ¶12. Further, if the Entertainers felt that any of the terms of

   the agreement were unfair, they did negotiate them at the time, or the attended the annual meeting




            10
               In fact, since 2010, Defendants advised entertainers in writing of both the terms that they were willing to
   offer them employment and the terms under which they were willing to contract with them. See [Dkt.20]. As the
   declarants explained, they chose to be Independent Professional Entertainers, not employees because the terms under
   which the respective defendant was willing to employ them. See e.g. [Dkt. 106], Ex. 4 ¶ 15, Ex. 9 ¶ 5 (working as an
   employee sounded horrible), Ex. 11, ¶ 10, and Ex. 12, ¶ 5.

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   where they could speak as a group to the management about them. Ex. K, ¶ 7; Ex. L, ¶ 8; Ex. O, ¶

   7.

          The sixth factor looks at the relationship between the parties. First, contrary to Plaintiffs’

   assertions the entertainers were not forced to be in their dance wear when they signed the

   agreements, but they often chose to be because they would have just auditioned or were going to

   work immediately after signing the agreements. Ex. H, ¶ 4; Ex. J, ¶ 3; Ex. L, ¶ 3; Ex. K, ¶ 3; Ex.

   I, ¶ 4; Ex. O, ¶ 3; Ex. N, ¶ 3; Ex. M, ¶ 4.11 Second, Plaintiffs’ allegations that managers would

   rush them or refuse to answer questions regarding the agreements is directly contradicted by the

   experiences of many other entertainers. Ex. I, ¶ 6; Ex. J, ¶¶ 4, 7; Ex. L, ¶¶ 5, -7; Ex. K, ¶ 5; Ex. H,

   ¶¶ 6-7; Ex. M, ¶ 7; Ex. N ¶¶ 5-7; Ex. O, ¶¶ 5-7; Ex. GGG, ¶ 7; Ex. VV, ¶ 7; Ex. CCC, ¶ 8; Ex. O,

   ¶ 5; Ex. Z, ¶ 6; Ex. DDD, ¶ 12; Ex. LLL, ¶ 6. Third, the entertainers never felt intimidated by

   management. “At no time did I feel intimidated by a manager.” Ex. H, at ¶ 7; see also Ex. J, at ¶

   7; Ex. L, at ¶ 7; Ex. K, at ¶ 6; Ex. I, at ¶ 7; Ex. GGG, ¶ 7, Ex, VV, ¶ 8; Ex. CCC, ¶ 7; Ex. O, ¶6;

   Ex. Z, ¶ 7; Ex. AA, ¶ 7; Ex. BB, ¶ 6;Ex. DD, ¶ 7; Ex. HHH, ¶9; Ex. H; 7.

          To support their arguments under the seventh factor that addresses all of the other

   circumstances surrounding the agreement, Plaintiffs allege that they agreed to their contracts in an

   unfair setting and that the contract’s purpose was not fair. Contrary to Plaintiffs’ allegations, the

   circumstances under which they signed are fair and reasonable: “I never had an alcoholic beverage

   before signing the agreement. Floyd, the manager, would not let me sign a contract if he knew I

   had been drinking.” Ex. K, ¶ 14; see also, Ex. L, ¶ 14; Ex. J, ¶ 15; Ex. I, ¶ 13; Ex. H, ¶ 15; Ex. O,

   ¶ 14; Ex. N ¶ 18. “My highest level of education is high school. This did not hinder my


          11
               Wearing lingerie and appearing either nude or semi-nude is what the entertainers wore at “work.”

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   understanding of the agreement.” Ex. H, ¶ 13; Ex. I, ¶ 12; Ex. J. ¶ 13; Ex. K, ¶ 12; Ex. L ¶ 12; Ex.

   M, ¶ 13; Ex. N, ¶ 12. “Each time I have signed an agreement I was in the office. The lighting and

   music in the building did not hinder my understanding of the agreement.” Ex. L, ¶ 15; see also,

   Ex. H, ¶ 16; Ex. I, ¶ 14; Ex. J, ¶ 16; Ex. K, ¶ 15; Ex. M, ¶ 16; Ex. N, ¶ 16; Ex. O, ¶ 15. “At no time

   did anyone with management at the Club misrepresent the terms of the Entertainer Agreement to

   me.” Ex. H, ¶ 11; see also, Ex. I, ¶ 11; Ex. J, ¶ 11; Ex. K, ¶ 10; Ex. L, ¶ 11; Ex. M, ¶ 11; Ex. N, ¶

   11; Ex. O, ¶ 10.

          In short, Plaintiffs fail to show that the independent contractor agreements containing

   arbitration clauses are unconscionable. Plaintiffs’ allegations, in many important respects, directly

   conflict with the experiences of more than thirty entertainers from all five of the different Denver

   clubs, proving that the agreements are conscionable and enforceable.

   IV.    VCG AND LOWRIE CAN ENFORCE THE ARBITRATION CLAUSE

          While courts generally have the authority only to compel arbitration between signatories,

   “the FAA does not ‘alter background principles of state contract law regarding the scope of

   agreements (including the question of who is bound by them).’" MSPBO, LLC v. Garmin Int'l,

   Inc., 2014 U.S. Dist. LEXIS 127312, at *10 (D. Colo. Sep. 11, 2014) (quoting Arthur Andersen

   LLP v. Carlisle, 556 U.S. 624, 630-31 (2009)). Contracts can be enforced by non-parties through

   traditional principles of state law, including equitable estoppel. Arthur Andersen, 556 U.S. at 631.

          In Colorado, equitable estoppel applies to claims which “presume the existence” of the

   agreement, and in claims which allege “interconnected and concerted misconduct between the non-




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   signatory and one or more of the signatories related to that agreement.” 12 Meister v. Stout, 353

   P.3d 916, 918 (Colo. App. 2015); see also Pollard v. ETS PC, Inc., 186 F. Supp. 3d 1166, 1174

   (D. Colo. 2016) (adopting the holding of Meister). The presence of either factor is sufficient to

   compel arbitration, both of which apply in this case. See Meister, 353 P.3d at 921-22.

            A.       Plaintiffs’ Complaint Relies on the Lease Agreements.

            Equitable estoppel applies when “a signatory must rely on the terms of a written agreement

   containing an arbitration agreement to assert its claims against a non-signatory.” Id. at 921. “A

   signatory relies on the agreement when it references or presumes the existence of the written

   agreement containing the arbitration agreement.” 13 Id. (emphasis added). In GATX Mgmt. Servs.

   LLC v. Weakland, 171 F. Supp. 2d 1159, 1166 (D. Colo. Nov. 14, 2001), a “misappropriation of

   trade secrets claim presume[d] the existence of the Employment Agreement,” otherwise the

   plaintiff would not have been employed by the defendant and would not have had access to the

   trade secrets. See also, e.g., Meister (applying arbitration provision to non-signatories because the

   claims against the non-signatories were premised upon the contract with the arbitration provision).

            Here, Plaintiffs’ First Amended Complaint references the existence of the written

   agreement. Plaintiffs explicitly refer to “the provisions in the contracts the Defendants required

   Plaintiff and other Class members to sign.” Amended Compl. ¶ 90. Plaintiffs reference the lease


            12
               Plaintiffs cite Peck v. Encana Oil & Gas, Inc., 2016 U.S. Dist. LEXIS 180767, at *5 (D. Colo. Dec. 16,
   2016) (unpublished), for the proposition that in order for equitable estoppel to apply, the plaintiff must have attempted
   to both hold the defendant liable under the terms of the agreement, and simultaneously denied that the arbitration
   agreement applied because they were non-signatories. [Dkt. 105, p. 5]. Plaintiffs’ reliance on Peck is misplaced.
   Peck addresses when a signatory defendant is compelling a non-signatory plaintiff to arbitrate his or her claims. Peck,
   2016 U.S. Dist. LEXIS 180767 at 3, 9. Here, the non-signatory parties are two of the defendants who are seeking to
   compel the Plaintiffs (signatory parties) to arbitrate their claims. Thus, Peck is inapplicable. .
            13
               Plaintiffs claim in a conclusory manner that they “do not rely on the Lease in formulating their claims,”
   and cite Meister to support their claim. [Dkt. 105, p. 5]. Their assertion ignores the clear definition which Meister
   gives to “rely.” Meister, 353 P.3d at 921 (A signatory relies on the agreement when it references or presumes the
   existence of the written agreement containing the arbitration agreement) (emphasis added).

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   again in the following paragraph. Id. ¶ 91. Like in Meister, Plaintiffs incorporate the background

   into each of their claims. Id. ¶¶ 125, 143, 158, 162, 174, 191.

            Furthermore, despite Plaintiffs’ claims to the contrary, the claims do arise from Plaintiffs’

   rights and Defendant’s obligations under the lease. Plaintiffs’ Complaint includes ten allegations

   that they were improperly classified as independent contractors. Amended Compl. [Dkt. 65], ¶¶

   8, 10, 12, 20, 41, 104, 105, 117, 159, 163. However, each Plaintiff made the informed decision to

   be an independent contractor and reviewed the terms of the lease agreement which they now

   challenge. See, e.g., Amended Comp. ¶¶ 24 (the payment of “House Fees”), 28 (payout of rent).

   Moreover, each agreement included any persons or entities associated with the club as a signing

   party to the contract. 14 For a complaint to rely on the underlying contract it need only “reference”

   or presume” the existence of the agreement containing the arbitration clause. Meister, 353 P.3d at

   921. Here, Plaintiffs’ complaint both references and presumes the existence of the leases.

   Therefore, Plaintiffs claims against a non-signatory, are subject to arbitration.

            B.       Plaintiffs Allege Interconnected Misconduct Between the Defendants

            Equitable estoppel applies when “a signatory alleges substantially interdependent and

   concerted misconduct by a non-signatory and one or more signatories under the agreement.” Id.;

   see also GATX, 171 F. Supp. 2d at 1166 (“Numerous other courts have held that equitable estoppel

   allows non-signatories to compel arbitration if there are intertwined claims”). The misconduct

   must be “intertwined with duties or obligations arising from the underlying conduct.” Meister, 353


             14
                In Pollard the court determined that because the arbitration clause in dispute required arbitration in “all
   claims against defendant ETS or its affiliated companies” that the non-signatories who were clearly affiliated with the
   signatories could compel arbitration. Pollard, 186 F. Supp. 3d at 1171. As opposed to the arbitration clause in dispute
   in Peck, which referred only to the signing parties, here, like in Pollard, the arbitration clauses require arbitration
   against the club “and any other persons or entities associated with the club.” [Dkt. 74, Exhibit 5h, at ¶ 14]. Therefore,
   the non-signatory affiliated Defendants can compel arbitration with the signatory Defendants.

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   P.3d at 921. In Pollard, the plaintiff argued that he was seeking to hold the defendant liable under

   the FLSA, not under the agreement. 186 F. Supp. 3d at 1175. The court rejected this argument,

   and held that a plaintiff’s FLSA claims are intertwined with their underlying contracts. Id. In

   Meister, the claims alleged interconnected and concerted misconduct when they did not assign the

   “alleged misconduct to any defendants individually,” and asserted identical claims against all

   defendants. 353 P.3d at 921.

           Here, Plaintiffs admit that they allege “substantially interdependent and concerted

   misconduct” between both the signatory and non-signatory defendants. [Dkt. 105, p. 5]. As in

   Pollard, the claims are intertwined with the duties of the contract, as the Lease lays out the terms

   of Plaintiffs and Defendant’s relationship.15 Like in Meister, the Plaintiffs do not allege that any

   of the Defendants acted individually. See [Dkt. 105]. All of the claims are identically asserted

   against at least one signatory and the non-signatory Defendants. Id.; see “First Claim for Relief,”

   at ¶ 135 (“Defendants demanded that Plaintiffs and other Class member pay ‘kickbacks’...”). Thus,

   as in Meister, the signatory Plaintiffs “allege [] substantially interdependent and concerted

   misconduct by a non-signatory and one or more signatories...” Meister, 353 P.3d at 921.

   Therefore, because Plaintiffs’ claims rely on the written agreement and the alleged misconduct

   applies to all Defendants, Defendants VCG and Lowrie can enforce the arbitration clause.

   V.      THE CLASS AND COLLECTIVE ACTION WAIVER IS ENFORCEABLE

           Plaintiffs argue that the class and collective action waivers are unlawful. First, absent a

   clearly expressed congressional intent to the contrary, the FAA and the NLRA should be


           15
                Plaintiffs state in a conclusory manner that their FLSA claims are not intertwined with the duties or
   obligations from the lease, citing Meister. [Dkt. 105, p. 5]. However, this ignores the holding of Pollard, where
   FLSA claims were found to be intertwined with the underlying contracts because the plaintiff indiscriminately accused
   all of the defendants of various alleged FLSA violations. 186 F. Supp. 3d at 1175.

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   interpreted harmoniously. Second, the weight of authority holds that the NLRA should be

   interpreted to mandate enforcing class action waivers.16 Third, the waivers are enforceable

   pursuant to the FLSA.

           A.       The NLRA Does Not Conflict with the FAA
           Initially, unless and until the arbitrator determines that Plaintiffs are employees, they are

   not subject to the NLRA. Meyer Dairy, Inc. v. NLRB, 429 F.2d 697, 700 (10th Cir. 1970) (vacating

   an NLRB decision that workers could bargain because the workers were independent contractors).

   Even if it did apply, the NLRA and the FAA are not incompatible. Section 2 of the FAA establishes

   “a liberal federal policy favoring arbitration agreements.” Moses H. Cone Mem’l Hosp. v. Mercury

   Contr. Corp., 460 U.S. 1, 24 (1983). Its “purpose was to place an arbitration agreement upon the

   same footing as other contracts … and to overrule the judiciaries longstanding refusal to enforce

   agreements to arbitrate.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 219-220 (1985).

   Section 2 requires courts to enforce agreements to arbitrate according to their terms. CompuCredit

   Corp. v. Greenwood, 565 U.S. 95, 98 (2012). An arbitration provision in a contract…shall be



   16
      Numerous courts have concluded that the NLRA does not prohibit arbitration clauses with class waivers. See
   Sutherland v. Ernst & Young, 726 F.3d 290 (2d Cir. 2013), Murphy Oil USA v. NLRB, 808 F.3d 1013 (5th Cir. 2015)
   (en banc review denied May 13, 2016); cert granted, 2017 U.S. LEXIS 680, *1, 137 S. Ct. 809, 196 L. Ed. 2d 595, 85
   U.S.L.W. 3344, 2017 WL 125666 (U.S. Jan. 13, 2017); Owen v. Bristol Care, Inc., 702 F.3d 1050 (8th Cir. 2013);
   Cellular Sales of Missouri, LLC v. NLRB, 2016 U.S. App. LEXIS 10002 (8th Cir. June 2, 2016); Walthour v. Chipio
   Windshield Repair, LLC, 745 F.3d 1326, 1336 (11th Cir. 2014); See also, Patterson v. Raymours Furniture Co., 96 F.
   Supp. 3d 71, 80 (S.D.N.Y. 2015); Longnecker v. American Express Co., 23 F. Supp. 3d 1099, 1112-13 (D. Az. 2014);
   Bekele v. Lyft, Inc., 2016 U.S. Dist. LEXIS 104921, **55-64 (D. Mass. Aug. 9, 2016); Fardig v. Hobby Lobby Stores,
   Inc., 2014 U.S. Dist. LEXIS 87284, 2014 WL 2810025, at *7 (C.D. Cal. 2014); Hickey v. Brinker Int'l Payroll Co.,
   2014 U.S. Dist. LEXIS 20387, 2014 WL [*1262] 622883, at *2 (D. Colo. Feb. 18, 2014)
    (providing detailed analysis of why the Lewis decision was wrongly decided based on the text of the FLSA and
   Section 7 of the NLRA). However, three appeals courts have concluded otherwise. See Lewis v. Epic Systems Corp.,
   823 F.3d 1147 (7th Cir. 2016), cert. granted 2017 U.S. LEXIS 691, *1, 137 S. Ct. 809, 196 L. Ed. 2d 595, 85 U.S.L.W.
   3343 (U.S. Jan. 13, 2017), Morris v. Ernst & Young, LLP, 2016 U.S. App. LEXIS 15638 (9th Cir. 2016), cert. granted
   at 2017 U.S. LEXIS 689, *1, 137 S. Ct. 809, 196 L. Ed. 2d 595, 85 U.S.L.W. 3344 (U.S. Jan. 13, 2017), and NLRB v.
   Alt. Entm't, Inc., 858 F.3d 393 (6th Cir. May 26, 2017). The Supreme Court has granted certiorari to resolve this
   conflict. A decision is expected this term.

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   valid, irrevocable, and enforceable, save upon such grounds exist at law or in equity for the

   revocation of any contract. 9 U.S.C. §2. Section 2 of the FAA renders class action waivers as

   “valid, irrevocable, and enforceable,” unless the saving clause in the FAA applied to the NLRA.

          The savings clause would only apply to the NLRA if there was a specific congressional

   command overriding the FAA. Shearson/Am. Express Inc. v. McMahon, 482 U.S. 220, 226 (1987)

   (like any statutory directive, the [FAA’s ] mandate may be overridden by a contrary congressional

   command). The Supreme Court has held that the FAA requires enforcement of an arbitration clause

   even where the federal statute that provided the cause of action dictated otherwise. See Scherk v.

   Alberto-Culver Co., 417 U.S. 506 (1974) (enforcing arbitration under the FAA where the

   Securities Exchange Act gave federal district courts “exclusive jurisdiction” over such suits).

   Commonly, the Court will ask whether “Congress itself,” in enacting the statute that created the

   plaintiff’s cause of action, “evinced an intention to preclude” enforcement of the parties’

   agreement. Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991). In both Scherk and

   Gilmer and several other cases, the Court found that Congress did not speak with the necessary

   specificity to indicate an intention to preclude the parties’ arbitration agreements and override the

   FAA. See e.g., Green Tree Fin. Corp. –Ala. v. Randolph, 531 U.S. 79, 89-92 (2000) (Truth in

   Lending Act); Gilmer, 500 U.S. at 26-33 (Age Discrimination in Employment Act of 1967);

   McMahon, 482 U.S. at 227-242 (Securities Exchange Act of 1934 and Racketeer Influenced and

   Corrupt Organizations Act); Mitsubishi Motors v. Soler Chrysler-Plymouth, 473 U.S. 614, 628-

   629 (1985) (Sherman Act).

          The NLRA does not contain a specific congressional command precluding enforcement of

   Plaintiffs’ arbitration agreements. Although the FLSA authorizes suit “by any one or more


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   employees for and in behalf of himself or themselves and other employees similarly situated,” 29

   U.S.C. 216 (b), that provision is not different from other “utterly commonplace” provisions that

   “describe the details of…causes of action, including the relief available, in the context of s court

   suit, ”CompuCredit, 565 U.S. at 100. “[M]ere formulation of the cause of action” is not sufficient

   to establish a congressional command that overrides the FAA. Id. at 100-101 (citations omitted).

           B.       Arbitration Does Not Conflict with the FLSA.
           The FLSA only applies to employees, not licensees or independent contractors. See Freund

   v. Hi-Tech Satellite, Inc., 185 Fed. Appx. 782, 782 (11th Cir. 2006). The right to pursue a collective

   action under 29 U.S.C. 216(b) is a procedural rather than substantive FLSA right. A “class action

   waiver merely limits arbitration to the two contracting parties. It no more eliminates those parties’

   rights to pursue a statutory remedy that did federal law before its adoption of the class action for

   legal relief in 1938.” Italian Colors, 138 S. Ct. at 2311. Any agreement not to proceed collectively

   “leaves the parties’ legal rights intact, and the rules of decision unchanged. Shady Grove

   Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 408 (2010). 17

           Plaintiffs’ argument that the class action waivers inherently conflict with the FLSA’s

   purpose of “protecting the class of employees that possess the least bargaining power in the

   workforce: ‘the unprotected, unorganized, and lowest paid of the nation’s population.” [Dkt. 105




   17
     The overwhelming weight of persuasive authority supports the conclusion that arbitration is not inconsistent with
   the FLSA. Each circuit court to address this issue has concluded that the FLSA does not contain the “contrary
   congressional command” necessary to override the FAA's mandate. McGrew v. VCG Holding Corp., 2017 U.S. Dist.
   LEXIS 43963, *18 (W.D. Ky. Mar. 27, 2017), citing Walthour v. Chipio Windshield Repair, LLC, 745 F.3d 1326,
   1334 (11th Cir. 2014); Sutherland v. Ernst & Young LLP, 726 F.3d 290, 296 (2d Cir. 2013); Owen v. Bristol Care,
   Inc., 702 F.3d 1050, 1052 (8th Cir. 2013); Carter v. Countrywide Credit Indus., Inc., 362 F.3d 294, 298 (5th Cir.
   2004); Adkins v. Labor Ready, Inc., 303 F.3d 496, 503 (4th Cir. 2002).

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   p, 27] (citations omitted), is inapplicable here. Here, the Plaintiffs knowingly agreed to waive their

   right to pursue a class action after reading and understanding the provisions of the agreements.

                                             CONCLUSION
          The arbitrator alone should decide the enforceability of the lease agreements, as Plaintiffs

   have challenged the formation of the entire agreements. In any event, Defendants have shown that

   at least 22 of the named Plaintiffs should be compelled to arbitration because they did not provide

   any facts to challenge their arbitration agreements. Even if they had, it is clear that the agreements

   are not procedurally or substantively unconscionable as to any of the named Plaintiffs.

   Additionally, any claims that Defendants VCG and Lowrie cannot compel arbitration fail because

   claims against them are subject to arbitration. Accordingly, the Court should grant Defendants’

   Motion to Stay or Dismiss the Proceedings in this case.

          Respectfully submitted this 10th day of July, 2017.

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                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on this 10th day of July, 2017, a true and correct copy
   of the foregoing DEFENDANT’S REPLY IN SUPPORT OF THEIR MOTION TO STAY
   OR DISMISS PROCEEDINGS PURSUANT TO SECTIONS 3 AND 4 OF THE FEDERAL
   ARBITRATION ACT, TO COMPEL PLAINTIFFS’ TO ARBITRATION, AND TO
   STRIKE CLASS AND COLLECTIVE ACTION ALLEGATIONS was served via CM/ECF
   on the following:

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